File # 82-CRS-10384

Film #

In The General Court of Justice
Superior Court Division

STATE OF NORTH CAROLINA

County of IREDELL
FEBRUARY 28, CRIMINAL Session, 19 83

The State of North Carolina

vs. INDICTMENT
ASSAULT WITH INTENT TO KILL
Shaun Antonio Hayden WITH A DEADLY WEAPON INFLICTING SERIOUS BODILY INJUI
Defendant NOT RESULTING IN DEATH

THE JURORS FOR THE STATE UPON THEIR OATH PRESENT, That

SHAUN ANTONIO HAYDEN
Iredell] on the 21st day of August

late of the County of
19 82, with force and arms, at and in the County aforesaid, did, unlawfully, wilfully

and feloniously assault Susie Beatrice Felts

with a certain deadly weapon, to wit: a pillow, his hands and a rope
Susie Beatrice Felts

inflicting serious injuries, not resulting in,death, ypon the said Susie Beatrice Felts, t
_ by prac ing a pil Tow over the face of Susie Beatrice Felts to s ETS ing b
wit: hands around the neck of Susie Beatrice Felts to strangle her, and by using a rope aro!

__the neck oT susie Beatrice Felts to strangle her , "
against thé form of the Statute in such case, made and provided and against the peace

with the felonious intent to kill and murder the said

and dignity of the State. «
/ Vv \ Solicitor
x Zz
WITNESSES:

Steve Burgin, spp X

Those marked ‘i sworn by the undersigned foreman, and examined before the

Grand Jury, and this bill found hk A True Bill.
TWELVE OR MORE GRAND JURORS ASSENTED
TO THIS BILL OF INDICTMENT. O... 0 Geu

Foreman rand _Jety

Ex. A

AOC-L Form 114
STATE OF NORTH CAROLINA — File # 82-CRS-7298

County of IREDELL a Film #

In The General Court of Justice

The State of North Carolina | Superior Court Division
oe oo . oe - _ JULY 19, CRIMINAL, 1982

vs.
INDICTMENT

Shaun Antonio Hayden
Defendant ATTEMPTED SECOND DEGREE RAPE

THE JURORS FOR THE STATE UPON THEIR OATH PRESENT that on or about the 23rd
day of May , 1982 , in Iredell County

SHAUN ANTONIO HAYDEN
unlawfully and wilfully did feloniously attempt to ravish and carnally know Bobbie

Fox, a female of the age of twelve years and more, to wit: 34 years of age, by
force and against her will by attempting to overcome her resistance and procuring
her submission and the defendant was more than-12 years of age at the time, to wit:
15 years of age, against the form of the statute in such case made and provided and
against the peace and dignity of the State.

yt

District Attorney

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WITNESSES: [ /

Det. Jack Zimmerman, SPD y

The witnesses marked "X" were sworn by the undersigned foreman and examined before
the ee Ey ae and this bill was found to be a true bill by twelve or more grand

jurors not a true bill.

This ya t aay of Dey, », 1992...
TWELVE OR MORE GRAND JURORS ASSENTED
TO THIS BILL OF INDICTMENT. DA, ra

~-~—~Grand Jury Foreman

AOC-L Form 201
STATE. OF NORTH CAROLINA - File #  82-CRS-10384 -

County of _IREDELL Film #

In The General Court of Justice

The State of North Carolina Superior Court Division |
vs. Be SEPTEMBER 13, CRIMINAL, 1982
INDICTMENT

Shaun Antonio Hayden
Defendant ATTEMPTED FIRST DEGREE MURDER

THE JURORS FOR THE STATE UPON THEIR OATH PRESENT that on or about the 21st
day of August » 19 82, in Tredel] County
SHAUN ANTONIO HAYDEN, with force and arms, at and in the county aforesaid,
unlawfully and wilfully did feloniously and deliberately and of malice aforethought,

did attempt to kill and murder Susie Beatrice Felts with the use of a deadly weapon,
to wit: by placing a pillow over the face of Susie Beatrice Felts to suffocate her
and by using both hands around the neck of Susie Beatrice Felts to strangle her and
by using a rope around the neck of Susie Beatrice Felts to strangle her, against the
form of the statute in such case made and provided and against the peace and dignity

of the State.

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UL —

District Attorney

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WITNESSES:

Steve Burgin, SPD
Del. Sot Vacle 2 emaer nae SOD._X

The witnesses marked "X'' were sworn by the undersigned foreman and examined before
the grand jury, and this bill was found to be xX] a true bill by twelve or more grand
jurors CI not a true bill.

s [ett day of Sept: » 1I9fQ.
TWELVE OR MORE GRAND JURORS ASSENTED

TO THIS BILL OF INDICTMENT. pb
CA tigate?
Grand J ry Foreman

AOC~L Form 201
STATE OF NORTH CAROLINA File #_82-CRS-10387
County of _[REDELL. Film # .

In The General Court of Justice
Superior Court Division

SEPTEMBER 13, CRIMINAL, 1982

The State of North Carolina ~

vs.
INDICTMENT

Shaun Antonio Hayden
Defendant FIRST DEGREE FORCIBLE RAPE

THE JURORS FOR THE STATE UPON THEIR OATH PRESENT that on or about the 2ist
day of August , 1982 , in Iredel] County

SHAUN ANTONIO HAYDEN, with force and arms, at and in the county aforesaid,
unlawfully and wilfully did feloniously ravish, carnally know and have vaginal intercourse

with Susie Beatrice Felts, a female of the age of twelve years and more, to wit: 65 years -
of age, by force and against her will by the use of a deadly weapon, to wit: a knife, by iD
overcoming her resistance and procuring her submission and the defendant being 15 years .
of age at the time, against the form of the statute in Such case made and provided and

against the peace and dignity of the State.

few District Attorney

_f |

WITNESSES : (

Steve Burgin, SPD
Det. Sol. Gack Cimnctr matt SPDX

The witnesses marked "X" were sworn by the undersigned foreman and examined before
ury, and this bill was found to be a true bill by twelve or more grand

the grand j
jurors ry not a true bill.

This ja day of Seok 3» 19 £2 .
TWELVE OR MORE GRAND JURORS ASSENTED

TO THIS BILL OF INDICTMENT. Cw, hagsec
“Grand. Ju Foreman

AOC-L Form 201

STATE OF NORTH CAROLINA File #__82-CRS-9358

County of _JRFEDFIL _ Film #

In The General Court of Justice
The State of North Carolina . _ Superior Court Division
. SEPTEMBER 13, CRIMINAL, 1982

vs.
INDICTMENT

Seen fntonio Hayden SECOND DEGREE SEXUAL OFFENSE

THE JURORS FOR THE STATE UPON THEIR OATH PRESENT that on or about the 29th
day of April » 1982 , in Iredel] County

SHAUN ANTONIO HAYDEN, with force and arms, at and in the county aforesaid,
unlawfully and wilfully did feloniously commit a sexual offense with Sylvia Elizabeth

Stewart, a female of the age of 26 years, by force and against her will, by inserting
a cigarette lighter into the vagina of Sylvia Elizabeth Stewart, the defendant being
15 years of age at the time, against the form of the statute in such case made and
provided and against the peace and dignity of the State.

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ye District Attorney

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wimesses:\' ~~

Det. Sgt. Jack Zimmerman, SPD X

The witnesses marked "X" were sworn by the undersigned foreman and examined before
the ee Ty an and this bill was found to be 4 a true bill by twelve or more grand

jurors not a true bill.
This [ae day of Seo. , 1959.
TWELVE OR MORE GRAND JURORS ASSENTED
TO THIS BILL OF INDICTMENT, 20 fo
“Grand Ju

AOC~L Form 201
File #_82-CRS-9359_
Film #

STATE OF NORTH CAROLINA
County of IREDELL

In The General Court of Justice
Superior Court Division —

_ The State of North Carolina
. SEPTEMBER 13, CRIMINAL, 1982

vs.
INDICTMENT
Shaun Antonio Hayden
Defendant ATTEMPTED SECOND DEGREE RAPE
THE JURORS FOR THE STATE UPON THEIR OATH PRESENT that on or about the 29th
County

April » 182 » in Iredell

SHAUN ANTONIO HAYDEN .
unlawfully and wilfully did feloniously attempt to ravish and carnally know Sylvia

Elizabeth Stewart, a female of the age of twelve years and more, to wit: 26 years
of age, by force and against her will by attempting to overcome her resistance and
procuring her submission, against the form of the statute in such case made and

day of

provided and against the peace and dignity of the State.

py District Attorney.
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WITNESSES :

Det, Sgt, Jack Zimmerman, SPD K

The witnesses marked "X'' were sworn by the undersigned foreman and examined before
ury, and this bill was found to be a true bill by twelve or more grand

the grand j
jurors ry not a true bill.

This /3% day of Sect.

TWELVE OR MORE GRAND JURORS ASSENTED . ,
TO THIS BILL OF INDICTMENT. wot. de en
“= Grand Jury Foreman

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AOC-L Form 201
